                                         Case 4:17-cv-03806-CW Document 53 Filed 01/04/18 Page 1 of 2




                                   1                     IN THE UNITED STATES DISTRICT COURT

                                   2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4   SIDNEY NAIMAN, et al.,                   Case No. 17-cv-03806-CW
                                   5                 Plaintiffs,
                                                                                ORDER GRANTING MOTION TO
                                   6            v.                              STRIKE
                                   7   TOTAL MERCHANT SERVICES, INC.,
                                       et al.,                                  (Dkt. No. 49)
                                   8
                                                     Defendants.
                                   9
  United States District Court
Northern District of California




                                  10

                                  11           On December 19, 2017, Defendants Quality Merchant Services,

                                  12   Inc. and Michael Alimento filed an answer to the Second Amended

                                  13   Complaint (2AC).     Alimento signed the answer on behalf of himself

                                  14   individually and on behalf of Quality Merchant Services as Vice

                                  15   President of the company.

                                  16           On December 20, 2017, Plaintiffs Timothy Collins and Sidney

                                  17   Naiman moved to strike the answer filed by Quality Merchant

                                  18   Services because a “corporation, unincorporated association,

                                  19   partnership or other such entity may appear only through a member

                                  20   of the bar of this Court.”     Civil L.R. 3-9(b); see also U.S.

                                  21   Commodity Futures Trading Comm’n v. Castillo, No. 06-cv-02540

                                  22   TEH, 2007 WL 2088372, at *1 (N.D. Cal. July 19, 2007) (“Non-

                                  23   attorneys, including a corporation’s president and sole

                                  24   shareholder, are barred from representing a corporation.”).

                                  25           Any opposition to the motion to strike was due on January 3,

                                  26   2018.    See Civil L.R. 7-3(a).   Neither Quality Merchant Services

                                  27   nor any other party responded to the motion.        Also, there is no

                                  28   indication in the record that Alimento is an attorney.
                                         Case 4:17-cv-03806-CW Document 53 Filed 01/04/18 Page 2 of 2




                                   1        Upon review of the record and the relevant authority, the

                                   2   Court GRANTS Plaintiffs’ motion to strike (Docket No. 49) and

                                   3   hereby STRIKES the answer of Quality Merchant Services, Inc.

                                   4   (Docket No. 48).   The Court does not, however, strike the answer

                                   5   of Michael Alimento (also Docket No. 48), which remains

                                   6   operative.

                                   7        Quality Merchant Services must file an answer through

                                   8   counsel within fourteen days after the date of this order.       If

                                   9   Quality Merchant Services fails to do so, Plaintiffs shall
  United States District Court
Northern District of California




                                  10   promptly file a request for the Clerk to enter its default.       See

                                  11   Fed. R. Civ. P. 55(a).

                                  12        All deadlines set previously remain in effect.

                                  13        IT IS SO ORDERED.

                                  14

                                  15   Dated: January 4, 2018
                                                                               CLAUDIA WILKEN
                                  16                                           United States District Judge
                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                           2
